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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater                 MDL No. 2179
Horizon” in the Gulf of Mexico, on
April 20, 2010                                             Section: J

THIS DOCUMENT RELATES:

All Cases and 2:10-CV-2771                                 JUDGE BARBIER
                                                           MAG. JUDGE SHUSHAN
_____________________________________/


                                            ORDER

       Considering the Motion for Leave to file Short Form Joinders Beyond the September 16,

2011 Deadline and the Supporting Memorandum of Law:

       IT IS ORDERED that the Motion for Leave to file Short Form Joinders is hereby

GRANTED and all Short Form Joinders contained in Exhibit B to this pleading are to be filed

by the Clerk into the record of Civil Action No. 10-8888, shall be considered timely filed in the

Transocean Limitation (Civil Action No. 10-2771), as well as joinder in the Bundle B1 and/or

B3 Amended Master Complaints, in accordance with Pretrial orders Nos. 24 and 25.

       Signed this _______ day of _____________________________, 2012.



                                                    ____________________________________
                                                    Honorable Carl J. Barbier
                                                    U.S. District Court Judge




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